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                                                                                  FILED
                     IN THE UNITED STATES DISTRICT COURT
                                                                                    JAN 0 ~ 2018
                         FOR THE DISTRICT OF MONTANA
                                BUTTE DIVISION                                  Clerk, U.S Diatric:t Court
                                                                                   District Of Montana
                                                                                         Missoula



 UNITED STATES OF AMERICA,                                     CR 17-16-BU-DLC

                          Plaintiff,
                                                                      ORDER
            vs.

 BENJAMIN CALVIN BROOKS,

                          Defendant.


        Before the Court is Defendant Benjamin Calvin Brooks' ("Brooks") Motion

to Suppress. (Doc. 28.) On December 21, 2017, the Court held an evidentiary

hearing on the motion and heard testimony from Montana Highway Patrol Trooper

Brandon Paul Moore ("Trooper Moore") and arguments from counsel. 1 Prior to

the he~ng, the Court reviewed an of the evidence filed by counsel, which

included the video tapes of the traffic stop. ·

       Brooks contends that the results of the search of his vehicle must be

suppressed because (1) his Fourth Amendment rights were violated when Trooper



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         On January 2, 2018, the Court also received a letter from Brooks containing both
additional evidence and legal argument. (Doc. 43.) To the extent that the letter is evidence, it is
not being considered by the Court because it is unswom testimony and the Government did not
have the opportunity to cross examine.

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Moore removed Brooks from his vehicle in a threatening manner, and (2) Trooper

Moore prolonged the traffic "mission" by launching a separate criminal

investigation. In response, the Government argues ( 1) that Brooks was not seized

during the traffic stop, and thus no Miranda warning was required, and (2) that

Trooper Moore's secondary investigation was permissible because it did not

prolong the traffic stop, or, alternatively, that Trooper Moore had an independent

reasonable suspicion to prolong the stop.

      For the reasons discussed below, the Court denies the motion.

                             FACTUAL BACKGROUND

      On July 31, 2017, at approximately 8: 15 a.m., Trooper Moore was patrolling

U.S. Highway 191 in Gallatin County when he observed a black sedan make an

illegal pass around a Montana Department of Transportation vehicle. Trooper

Moore activated his lights and observed the sedan take a left-hand tum off the

highway into a newly developed subdivision. Instead of stopping, the vehicle then

turned right and continued approximately one hundred feet up the road, finally

parking alongside a mound of topsoil.

      As Trooper Moore approached the vehicle, he observed the driver make

what he described as gross movements, which Trooper Moore believed was

inconsistent with someone retrieving a license and registration. Trooper Moore

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called out to the vehicle's driver to roll down the window, but the driver did not

and the movements continued. Trooper Moore delayed his approach and again

called out to the driver to place his hands on the steering wheel. Trooper Moore

then observed the driver-a middle-aged black male-comply with his request.

Trooper Moore cautiously continued his approach with his right hand was resting

on his belt holster. Again, Trooper Moore asked the driver to roll down the

window. The driver rolled the window down a few inches. Trooper Moore

repeated his request. The driver then rolled the window down incrementally more

and asked how far down the Trooper wanted it, to which Trooper Moore

responded, "Hey buddy, I'm not interested." (Doc. 29 at 5.)

       Trooper Moore then asked for the standard paper work. After multiple

requests, the driver complied, but appeared to shield the center console from view.

This caused Trooper Moore to believe that the driver was potentially concealing a

weapon. Trooper Moore used his flashlight to peer into the vehicle, looking for

weapons. Trooper Moore asked the driver multiple times whether the driver had a

weapon on him, to which the driver stated that he did not. After retrieving the

appropriate paper work, Trooper Moore placed it on the roof of the vehicle and

asked the driver to step out. The driver got out of the car carefully, reaching his

hands out in front of him and stated that he did not want to get shot. Trooper

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Moore responded that no one was getting shot. As the driver exited, he spun in a

circle. Trooper Moore stated that the driver was making him nervous and

instructed the driver to wait at the trunk of the car. Trooper Moore then briefly

conducted a visual inspection of the vehicle, at which point he observed what

appeared to be a spent shell casing on the floor near the drivers' side door.

      Walking back to the rear of the vehicle, Trooper Moore asked the driver to

lace his fingers behind his back, while he patted the driver down for a weapon.

Finding none, Trooper Moore visibly calmed in demeanor and asked the driver to

return to the patrol car while Trooper Moore issued the traffic citation. At this

time he learned that the driver's name was Benjamin Calvin Brooks.

      During the conversation in the patrol car that followed, Trooper Moore

extensively questioned Brooks regarding his whereabouts, the rental vehicle, and

where he was headed. He learned that Brooks was traveling from Arizona to

Billings after attending his cousin's wedding. He also learned that the vehicle was

a rental, procured by Brooks' wife, but that Brooks was traveling home alone.

Based on inconsistencies in Brooks' recount of events, Trooper Moore circled

back and asked Brooks for greater detail. Most notably, Brooks stated that he had

left for the wedding the day prior to renting the car. This, coupled with the lack of

visible luggage in the rental vehicle, the lived-in look of the car, and Trooper

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Moore's knowledge and belief that Highway 191 is a drug trafficking corridor and

that drug traffickers often use rental vehicles, Trooper Moore became suspicious

that Brooks was transporting contraband. At some point during his questioning,

Trooper Moore called for backup and initiated a secondary ex-felon background

check, which is an addition to the standard registration and license checks.

      Nearing the end of the questioning, Trooper Moore asked Brooks whether

he had been in trouble before. Brooks confessed to having a felony conviction for

burglary. However, he did not mention having a felony conviction for possession

with intent to distribute, which Trooper Moore learned upon receipt of the ex-

felon background check. Trooper Moore then completed the citation. The total

time from when Brooks stepped into the patrol vehicle to the time when Trooper

Moore finished the citation lasted approximately 18 minutes.

      Stepping out of the patrol car, Trooper Moore met Brooks at the front of the

vehicle to go over the citation, after which Trooper Moore told Brooks that he was

free to go. Brooks took approximately eight steps towards his car before Trooper

Moore asked whether Brooks would be willing to answer a few more questions.

Brooks agreed, talked for a short period of time, but terminated the conversation

when Trooper Moore asked Brooks how he would feel about getting a K9 unit to

the scene to sniff for contraband. By this time Trooper Moore's partner had

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arrived on scene. Brooks was told again by Trooper Moore that he was free to

leave but was not free to take his vehicle. Brooks left the scene on foot. This

second phase of voluntary questioning lasted approximately eight minutes. 2

           Based upon Brooks' inconsistent statements to Trooper Moore, the positive

results of the K9 search, and the observation of a second spent shell casing near

the trunk of the vehicle, Trooper Moore filed for and obtained a search warrant.

The search yielded 615 grams of actual methamphetamine and a handgun.

       Brooks challenges the constitutionality of the search and requests that all

statements and evidence be suppressed.

                                     LEGAL STANDARD

       In a motion to suppress the defendant bears the burden of proving a Fourth

Amendment violation. Rakas v. Illinois, 439 U.S. 128, 130 n. 1 (1978) (citing

Simmons v. United States, 390 U.S. 377, 389-390 (1968)). To rule in the

defendants favor, the court must conclude that this burden has been met by a

preponderance of the evidence. Fed. Rule ofEvid. 104(a); Bourjaily v. United

States, 483 U.S. 171, 174 (1987). Here, Brooks has the burden of proving that (1)



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         Of these eight minutes, Trooper Moore engaged Brooks in further indepth questioning
for approximately four minutes. In the remaining time, Brooks left the scene to urinate and then
returned to question the Troopers as to why he could not leave in his car. After approximately
eight minutes he left the scene.

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his Fourth Amendment rights were violated, (2) the traffic stop was prolonged,

and (3) the prolonged stop was not justified by an independent reasonable

susp1c1on.

      For the reasons discussed below the Court concludes that Brooks was not

seized in violation of his Fourth Amendment rights and thus no Miranda warning

was required. Furthermore, Trooper Moore had independent reasonable suspicion

to prolong the traffic stop. Accordingly, the Court denies the Motion to Suppress.

                                 DISCUSSION

      The Fourth Amendment to the United States Constitution provides "[t]he

right of the people to be secure in their persons, houses, papers, and effects,

against unreasonable searches and seizures, shall not be violated." U.S. Const.

Amend. IV. "[A] person is seized only when, by means of physical force or a

show of authority, his freedom of movement is restrained." United States v.

Mendenhall, 446 U.S. 544, 553-554 (1980) (internal quotation marks omitted).

Even a brief traffic stop is a seizure within the meaning of the Fourth Amendment,

and therefore is subjective to the "constitutional imperative" that it be reasonable

under the circumstances. Whren v. United States, 517 U.S. 806, 810 (1996); see

also United States v. Arvizu, 534 U.S. 266, 273 (2002). However, the ordinary

traffic stop does not typically involve a custodial term that requires a Miranda


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warning. Pennsylvania v. Bruder, 488 U.S. 9, 10 (1988); see also Berkemer v.

McCarty, 468 U.S. 420, 437-440 (1948) (finding that a person's detention and

questioning during a traffic stop does not raise the concerns of coercion to the

degree that Miranda warnings are required.) "[T]he usual traffic stop is more

analogous to a so-called "Terry stop," ... than to a formal arrest." Berkemer, 468

U.S. at 439 (citing Terry v. Ohio, 392 U.S. 1 (1968)). Thus, the temporary seizure

of the driver and passengers "ordinarily continues, and remains reasonable, for the

duration of the stop," Arizona v. Johnson, 555 U.S. 323, 333 (2009), as measured

by the time reasonably necessary to complete the traffic mission. United States v.

Evans, 786 F.3d 779, 786 (9th Cir. 2015) (citing Illinois v. Caballes, 543 U.S. 405,

407 (2005)). The traffic mission itself includes the ordinary tasks necessary to

ensure that vehicles are operated safely and responsibility. Evans, 786 F.3d at

786.

I.     Fourth Amendment Violation

       Brooks concedes that Trooper Moore had probable cause to initiate the

traffic stop when he witnessed Brooks use the turning lane to make an unlawful

pass around a Department of Transportation vehicle. Because the initial stop was

lawful, no Miranda warning was required for the duration reasonably necessary to

complete the traffic mission. Rather, Brooks first argues that he was seized in

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violation of his Fourth Amendment rights because Trooper Moore's threatening

conduct constituted a de facto arrest. (Doc. 28 at 14.) Specifically, Brooks argues

that he was in custody the moment Trooper Moore asked him to step out of the

vehicle.

      It is well settled that "an officer making a traffic stop may order passengers

to get out of the car pending completion of the stop." Marylandv. Wilson, 519

U.S. 408, 414 (1997). Thus, ifthe seizure became unlawful, it did not occur as the

result of Trooper Moore escorting Brooks to the patrol vehicle to wait in the front

seat while Trooper Moore issued the citation.

      Though the general rule provides that a reasonable traffic stop does not

require a Miranda warning, a traffic stop may raise coercive concerns requiring

the full "panoply of protects proscribed by Miranda" if its manner renders an

individual in custody. United States v. Iturbe-Gonzalez, 100 F.Supp. 3d 1030,

1037 (D. Mont. 2015), affd 2017 WL 2963532 (9th Cir. July 12, 2017) (quoting

Berlcemer, 468 U.S. at 440). These circumstances arise when an individual is

subject to treatment that, under the totality of circumstances, would cause a

reasonable person to believe an arrest has occurred. United States v. Hayden, 260

F.3d 1062, 1066 (9th Cir. 2001); see also Iturbe-Gonzalez, 100 F. Supp. 3d at

1037. Factors relevant to the determination include: "(1) the language used to

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summon the individual; (2) the extent to which the defendant is confronted with

evidence of guilt; (3) the physical surroundings of the interrogation; (4) the

duration of the detention; and (5) the degree of pressure applied to detain the

individual." Hayden, 260 F.3d at 1066.

      In support of the first factor, Brooks argues that Trooper Moore's language

in summoning Brooks adds to the calculus because he spoke loudly and

aggressively. The Court disagrees. The language and tone used by Trooper

Moore was proportionate to the circumstances. As Trooper Moore approached the

vehicle he called out to Brooks to roll down his window. When Brooks failed to

comply, Trooper Moore called out again, this time asking Brooks to place his

hands on the steering wheel. Trooper Moore did not move closer until he saw

Brooks' hands. Thus, any added volume was necessary to communicate from a

distance and through a closed window.

      Additionally, Trooper Moore acknowledged in his police report that he was

initially abrupt due to officer safety concerns. (Doc. 29-2.) Twice he asked

Brooks to roll down the window, to which Brooks complied in part and asked how

far down the window needed to be. In response, Trooper Moore stated, "Hey

buddy, I'm not interested." (Doc. 28 at 5.) While perhaps callous, this language is

not threatening nor aggressive. Accordingly, the Court concludes that the first

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factor is not met.

      Brooks concedes the second element, but in support of the third element

asserts that his physical surroundings when he was questioned by a uniformed

officer in a patrol car would cause any reasonable person to believe they were in

custody. On the other hand, Trooper Moore testified that it was his usual practice

to bring persons back to the patrol car. The salient factor here is that Brooks was

asked to sit in the front passenger seat rather than the back seat of the patrol car,

which is inconsistent with an arrest. Trooper Moore directed Brooks to the car,

but did not open the door for Brooks or close it behind him. Brooks got into the

car by his own volition. Accordingly, this factor does not weigh in Brooks' favor.

      Brooks further argues that the duration of the detention constituted an arrest.

However, given that Brooks argues that the moment of arrest occurred at the time

he was asked to step out of the vehicle, within the first two and a half minutes of

the stop, the Court disagrees that the duration of the detention weighs in Brooks

favor. Nor was the duration of questioning once in the patrol car, which lasted

approximately 18 minutes, clearly excessive. Trooper Moore testified that his

standard practice when issuing a traffic citation is to be meticulous and careful to

ensure the citation is correct. He also stated that he is not the fastest typer. The

Court takes his testimony as true and finds no indication that he was intentionally

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delaying the stop.

      The period of voluntary questioning after Brooks was told he was free to

leave was also relatively brief. It lasted only eight minutes, four of which were

spent questioning Brooks and four of which were spent on unrelated activities.

The entire encounter from start to finish lasted 33 minutes. The duration itself,

though perhaps slightly prolonged for the purpose of issuing a ticket, does not in

and of itself constitute a custody. Accordingly, the Court concludes this element

is not met.

      Lastly, Brooks argues that the degree of pressure involved in the stop

constituted an arrest. This is perhaps Brooks' most compelling argument. Based

on the totality of circumstances, Brooks claims that a reasonable person believes

he or she is in custody when, during a traffic stop, (1) a uniformed officer, (2)

resting a hand on his weapon, (3) asks an individual to hold the steering wheel, (4)

while engaging the individual in investigative criminal questioning, and ( 5)

instructing the individual to leave the vehicle and return to the patrol car. The

pressure was such that Brooks feared for his safety and stated that he did not want

to get shot. While the relevant determination is not what Brooks himself believed,

but what a reasonable person in his position would have believed, the Court finds

Brooks' behavior consistent with a reasonable level of intimidation. The patrol

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car surveillance video corroborates that Brooks appeared fearful and intimidated at

the beginning of the stop due to the pressure from Trooper Moore.

      Even though this single factor tilts in Brooks' favor, the Court is unable to

conclude that this alone, under Hayden, equates to being in custody. Notably, the

reasonable person calculus is not easily divorced from the officer's legitimate

safety concerns. When Trooper Moore approached the vehicle, he testified that

his safety concerns were heightened because of the remote location and what he

perceived as Brooks' unusual behavior. Trooper Moore stated that when he

approached Brooks he was looking for verbal compliance. He instructed Brooks

to roll down the window, and Brooks did so incrementally and reluctantly.

Trooper Moore believed this was unusual, because in his opinion everyone rolls

down their window. Rather than assuaging Trooper Moore's safety concerns,

Brooks' conduct continued to increase Trooper Moore's apprehension. When

Trooper Moore asked Brooks to exit the vehicle, Brooks spun in a circle. After

Brooks exited the vehicle, he looked in the window and observed a shell casing

between the door and drivers' seat, which presented a clear safety concern.

Trooper Moore testified that he believed that Brooks was sizing him up. All of

this caused Trooper Moore to tell Brooks that he was making him nervous. The

traffic stop continued to cause mutual anxiety up until the time Trooper Moore

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determined that Brooks did not have a weapon on his person after the pat down.

Given the legitimate officer safety concerns that underlie Trooper Moore's

behavior, and Brooks' participation in creating some of these concerns, the Court

cannot conclude that the pressure of the traffic stop constituted a custodial term.

       Thus, having weighed all factors, the Court determines that Trooper

Moore's conduct did not constitute a de facto arrest requiring a Miranda warning.

II.   Prolonged Traffic Stop

      Next, Brooks argues that the traffic stop violated his Fourth Amendment

rights because the traffic stop immediately took on an aspect unrelated to the

traffic mission, in activities such as Trooper Moore's calling for backup, asking

detailed questions unrelated to the traffic mission, and conducting unrelated

records checks. (Doc. 29 at 20.) The Court agrees with Brooks that soon after the

traffic stop commenced there was an investigative aspect to Trooper Moore's

questioning which overlapped with the tasks associated with the traffic stop.

However, this on its own does not render the search unconstitutional. The proper

inquiry is whether these extraneous activities either unlawfully prolonged the

traffic mission, or were not supported by independent reasonable suspicion.

      In Rodriguez v. United States, 135 S. Ct. 1609 (2015), the Supreme Court

detailed the lawful scope of a traffic stop, explaining that "the tolerable duration of

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police inquiries ... is determined by the seizure's 'mission'-to address the traffic

violation that warranted the stop, and attend to related safety concerns." Id. at

1615-16 (internal citations omitted). However, "[a]n officer ... may conduct

certain unrelated checks during an otherwise lawful traffic stop. But ... he may

not do so in a way that prolongs the stop, absent the reasonable suspicion

ordinarily demanded to justify detaining an individual." Id. at 1616. "Authority

for the seizure thus ends when tasks tied to the traffic infraction are-or

reasonably should have been-completed." Id. In United States v. Evans, 786

F.3d 779, 786 (9th Cir. 2015) (citing Illinois v. Caballes, 543 U.S. 405, 407

(2005), the Ninth Circuit concluded that running an ex-felon check or a canine

search are tasks "wholly unrelated" to the traffic mission.

      The issue then, is one of timing. If this Court concludes that police

questioning or running the ex-felon background check prolonged the time

reasonably necessary to complete the traffic mission, the secondary investigation

must be supported by independent reasonable suspicion. Otherwise, Trooper

Moore's failure to provide a Miranda warning requires suppression of evidence.

See United States v. Mendez, 476 F.3d 1077, 1079-80 (9th Cir. 2007) (finding that

officer questioning on matters unrelated to the initial stop does not violate the

Fourth Amendment unless it prolongs the stop); see also Evans, 786 F.3d at 786

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(finding that an officer may conduct activities unrelated to the traffic mission so

long as it does not prolong the stop, unless supported by an independent

reasonable suspicion.)

      For support, Brooks relies on Berkemer, supra, 468 U.S. at 437, as authority

that a traffic stop is presumptively a temporary and brief affair. He argues that the

traffic stop was prolonged by Trooper Moore's criminal investigation because

Trooper Moore necessarily had to stop issuing the citation in order to review the

results from the ex-felon background check. He also argues that Trooper Moore

delayed issuing the traffic citation while he waited for the results from the ex-felon

check to come through, as evidenced by the fact Trooper Moore finished writing

the ticket within a minute of receiving the results. The Government argues that

the additional questioning and running the ex-felon check did not extend the

traffic stop because these activities ran concurrently with Trooper Moore's writing

the traffic citation. As for the delay in issuing the ticket itself, Trooper Moore

attributes this to the complexity of a manual system with multiple tabs, requiring

him to move within various screens to issue a ticket. Trooper Moore explains that

any delay is the result of being meticulous and careful in his work.

      In Evans, the Ninth Circuit found that the traffic stop was prolonged where

the officer told Evans he was not going to issue citation within the first four

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minutes, but made Evans wait an additional eight minutes until the results from the

secondary check returned. Evans, 786 F.3d at 786. Because Evans' wait doubled

the length of time necessary to complete the traffic mission, the Ninth Circuit

concluded the stop was prolonged. Id. On the other hand, in Mendez, the Ninth

Circuit rejected the argument that the officer did not diligently process the traffic

citation because of a delay in his processing the paper work. Mendez, 476 F .3d at

1079-80. The court concluded that the delay could have been attributed to an

initial belief that the license and registration checks were not necessary. Id.

      Here, the Court agrees with Brooks that the traffic stop was prolonged by

the investigation. First, as Brooks points out, Trooper Moore asked the same

series of questions many times, circling back to confirm Brooks' answers

remained consistent. Trooper Moore asked Brooks where he was coming from

within two minutes of initiating the stop. Once in the patrol car, Trooper Moore

asked the same question approximately five minutes later. Approximately two

minutes after that, Trooper Moore asked the question for a third time, this time

wanting to know where Brooks had stayed and how long he had visited. (Doc. 28

at 5-7.)

      The Government argues that the questioning associated with the criminal

investigation did not delay the traffic stop because the questions served a dual,

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simultaneous purpose, related to both the traffic mission and the criminal

investigation. While the Court agrees that much of the questioning falls into the

dual purpose category, including Trooper Moore's questions designed to

determine how long Brooks had driven, whether Brooks might be impaired,

whether he was in a hurry, and the general itinerary of the trip, some of Trooper

Moore's questions do not fall into this category. For example, Trooper Moore's

questions regarding the role Brooks played in the wedding and his questions

regarding the whereabouts of Brooks' wife are unrelated to the traffic mission.

While the criminal investigation did not add time after completion of the traffic

mission as in Evans, it is evident that but-for the additional time taken to question

Brooks multiple times regarding the unrelated details of his travel, and review the

results from the unrelated records checks, the encounter would have terminated

sooner. Accordingly, the Court concludes that the extraneous investigation did in

fact prolong the traffic stop.

       Thus, the determinative question is whether Trooper Moore had an

independent reasonable suspicion to prolong the traffic mission, and the Court

concludes that he did.

III.   Independent Reasonable Suspicion

       "Reasonable suspicion exists when an officer is aware of specific,

articulable facts which, when considered with objective and reasonable inferences,

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form a basis for particularized suspicion." Evans, 786 F.3d at 788 (quoting United

States v. Montero-Camargo, 208 F.3d 1122, 1129 (9th Cir. 200 (en bane) (internal

quotation marks omitted). "The concept of reasonable suspicion, like probable

cause, is not readily, or even usefully, reduced to a neat set of legal rules," United

States v. Sako/ow, 490 U.S. 1, 7 (1989), but is rather is intentionally abstract, as

courts are instructed to give "due weight" to the factual inferences drawn by law

enforcement officers. United States v. Arvizu, 534 U.S. 266, 273 (2002); see also

United States v. Hartz, 458 F.3d 1011, 1017 (9th Cir. 2006) (finding that

"[r]easonable suspicion exists if 'specific, articulable facts ... together with

objective and reasonable inferences suggest that the persons detained by the police

are engaged in criminal activity."). This standard is not a high threshold. United

States v. Valdes-Vega, 738 F.3d 1074, 1078 (9th Cir. 2013) (en bane).

      The "particularized suspicion" requirement encompasses two elements.

Montero-Camargo, 208 F.3d at 1129. "First, the assessment must be based upon

the totality of the circumstances," and includes conduct that might be entirely

"innocuous in isolation," but when taken in a broader context creates reasonable

suspicion. Id. at 1129-30. Next, this "reasonable suspicion" must arouse the

belief that the "the particular person being stopped has committed or is about to

commit a crime." Id. at 1129. "Th[is] process does not deal with hard certainties,

but with probabilities." United States v. Cortez, 449 U.S. 411, 417 (1981).

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However, this determination requires more than "a mere hunch." Valdes-Vega,

738 F.3d at 1078 (citing Arvizu, 534 U.S. at 274).

      In forming this reasonable suspicion calculus, courts are cautioned against

considering factors that may be subjective. See generally Montero-Camargo, 208

F.3d 1122 (9th Cir. 2000). In Montero-Camargo, the Ninth Circuit instructed that

the district court should not have considered the officers' interpretation that the

passenger tried to hide by picking up a newspaper when she saw his approach. Id.

at 1135-36. Reading significance into this fact created a "damned if you do,

equally damned if you don't" situation for the passanger. Id. at 1136. The officer

could just as easily have been suspicious if she had "paid too much, rather than too

little attention." Id. at 1135-36. Similarly, a court can consider whether an

individual made eye contact, but not that the eye contact appeared "suspicious."

Id. at 1136.

       Brooks points to a number of factors that he believes are subjective,

including Trooper Moore's initial dislike of where Brooks parked his car and

Trooper Moore's belief that Brooks used his body to shield the center console

from view. Similarly, Brooks discredits Trooper Moore's assertion that Highway

191 is a known drug corridor.

      The Government argues that Trooper Moore had reasonable suspicion when

he observed Brooks tum right into the subdivision and park alongside the dirt

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berm. Trooper Moore testifies that this was the moment he believed something

was not right. From there, his suspicion only increased in response to the

following irregularities, including: ( 1) the vehicle pulled into unoccupied

development, but had an out-of-state license plate; (2) as Trooper Moore

approached the vehicle, the brake lights remained engaged, causing him to believe

the driver might drive away or back over him; (3) Trooper Moore observed gross

movements that he considered inconsistent with a person retrieving a license and

registration; (4) Brooks' reluctance to roll down the window; (5) Brooks' wide-

eyed, nervous look; (6) Trooper Moore's belief that Brooks was shielding the

center console from view as he retrieved his license and registration; (7) Brooks'

repeated glances in Trooper Moore's direction; and (8) the spent shell casing that

Trooper Moore observed on the drivers' side floor of the vehicle. 3 (Doc. 38 at

13-14.)

       In considering Trooper Moore's sworn testimony, the Court is mindful of its

duty to consider only those factors which do not call for a subjective interpretation

in the reasonable suspicion calculus, while giving "due weight" to the "factual

inferences drawn by" Trooper Moore. United States v. Arvizu, 534 U.S. 266, 273



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         Trooper Moore testified that he observed what appeared to be a spent shell casing. Later,
the vehicle's search revealed that it was not in fact a spent shell casing, but live ammunition.

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(2002). With this guidance in mind, the Court attaches no significance to Trooper

Moore's impression that Brooks appeared wide-eyed and nervous, Brooks'

repeated glances in Trooper Moore's direction and that Brooks appeared to use his

body to shield the center console from view. These are the very sort of factors

cautioned against in Montero-Camargo.

      However, Trooper Moore testified that upon seeing Brooks tum right within

the newly developed subdivision he sensed that something was not right. The

Court agrees with Brooks that Trooper Moore's suspicion began as a "hunch" of

criminal activity. However, this hunch ripened into something more through the

accumulation of a series of independently innocent facts which taken together

formed something more. The Court finds the following facts particularly

significant to the reasonable suspicion calculous: (1) Trooper Moore's testimony

that the brake lights remained on while he approached the vehicle; (2) the gross

movements that Trooper Moore observed as he approached the vehicle; and

perhaps most significantly, (3) Brooks' reluctance to roll down the window which

occurred at the outset of the traffic stop. While this series of behaviors caused

Trooper Moore to believe that something more was going on, his suspicion

became particularized when Trooper Moore observed what appeared to be a spent

shell casing on the driver's side floor of Brooks' vehicle, which had been rented


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three days previously. Accordingly, the Court concludes that from this moment

forward Trooper Moore had a particularized and reasonable suspicion to believe

that Brooks was engaging in, or about to engage in, criminal activity. This

suspicion authorized any reasonably prolonged investigation into matters

unrelated to the traffic mission. Thus, because the Court concludes that

independent reasonable suspicion occurred within seconds of Brooks stepping out

of the vehicle, it is unnecessary to address how Trooper Moore's suspicion was

further confirmed through the investigation that followed.

      Accordingly, the Court DENIES Brooks' Motion to Suppress evidence.

(Doc. 28.)
                      +'1
               4 day of January, 2018.
      DATED this_




                                      Dana L. Christensen, Chief Judge
                                      United States District Court




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